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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


WILMER RIOS PEREZ,

       Petitioner,

v.                                               CASE NO: 8:07-cv-1839-T-30TBM
                                                    Crim. No. 8:05-cr-199-T-30TBM
UNITED STATES OF AMERICA,

      Respondent.
______________________________/


                                         ORDER

       THIS CAUSE came before the Court for evidentiary hearing on September 16, 2008,

on the Petitioner’s Amended Motion to Vacate, Set Aside or Correct Sentence Pursuant to

28 U.S.C. § 2255 (Dkt. #4). The Court made the following findings of fact:

       1.     The Petitioner did have a conversation about his appellate rights with his

attorney.

       2.     The Petitioner did not ask his attorney to file a direct appeal of his sentence.

       It is therefore ORDERED AND ADJUDGED that:

       1.     The Petitioner’s Amended Motion to Vacate, Set Aside or Correct Sentence

(Dkt. #4) is DENIED.

       2.     The Clerk is directed to terminate any pending motions and CLOSE this file.




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         3.        The Clerk is also directed to terminate the pending Amended Motion to Vacate,

Set Aside or Correct Sentence (CR Dkt. #123) in the underlying criminal case 8:05-cr-199-T-

30TBM.

         DONE and ORDERED in Tampa, Florida on September 17, 2008.




Copies furnished to:
Counsel/Parties of Record
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